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                           SUSTAINABLE RAINFOREST PRODUCTS, INC.
                      10

                      11                                     UNITED STATES DISTRICT COURT

                      12                               NORTHERN DISTRICT OF CALIFORNIA

                      13

                      14   CASEY TROYER, as individuals and on                  Case No.
                           behalf of all similarly situated employees,
                      15                                                        CLASS ACTION
                                                Plaintiff,
                      16                                                        NOTICE OF REMOVAL OF ACTION BY
                                 v.                                             DEFENDANT THE YERBA MATE CO.,
                      17                                                        LLC PURSUANT TO 28 U.S.C. §§ 1332,
                           THE YERBA MATE CO., LLC, a limited                   1367(a), 1441(a), 1441(b), 1446 AND 1453
                      18   liability company; GUAYAKI
                           SUSTAINABLE RAINFOREST
                      19   PRODUCTS, INC.; and DOES 1 through
                           50, inclusive,                                       Action Filed:   July 23, 2020
                      20
                                                Defendants.                     Date of Removal: August 28, 2020
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   SAN FRA NCI S CO                   NOTICE OF REMOVAL OF ACTION BY DEFENDANT PURSUANT TO 28 U.S.C. §§ 1332, 1441 AND 1446
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                       1           TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE

                       2   NORTHERN DISTRICT OF CALIFORNIA:

                       3           PLEASE TAKE NOTICE that defendant The Yerba Mate Co., LLC (“Yerba Mate” or

                       4   “Defendant”) hereby removes the above-entitled action from the Superior Court of the State of

                       5   California, County of Alameda, to the United States District Court for the Northern District of

                       6   California pursuant to 1332(d) (Diversity under Class Action Fairness Act), 1367(a)

                       7   (Supplemental Jurisdiction), 1441(a), 1441(b), 1446 and 1453, based on the following facts:

                       8   I.      PLEADINGS AND PROCESS, AND ORDERS

                       9           1.     Plaintiff Casey Troyer (“Plaintiff”) commenced a civil action in the Superior Court
                      10   of the State of California for the County of Alameda by filing a Complaint for Damages on July

                      11   21, 2020 entitled “Casey Troyer, as individuals and on behalf of all similarly situated employees,

                      12   Plaintiff v. The Yerba Mate Co., LLC, a limited liability company; Guayaki Sustainable

                      13   Rainforest Products, Inc.; and Does 1 through 50, inclusive, Defendants,” Case No. RG20068307

                      14   (“Complaint”). True and correct copies of the Complaint and Summons on the Complaint are

                      15   attached as Exhibit A to the Declaration of Daniel R. Lyman, ¶ 2 (“Lyman Decl.”).

                      16           2.     On July 23, 2020, Plaintiff filed a First Amended Complaint (“FAC” or “First

                      17   Amended Complaint”).

                      18           3.     On July 29, 2020 Plaintiff served Yerba Mate with a copy of the First Amended

                      19   Complaint, Summons on First Amended Complaint, Civil Case Cover Sheet, and Superior Court
                      20   of California County of Alameda Alternative Dispute Resolution Information Packet. True and

                      21   correct copies of these documents are attached as Exhibit B to the Declaration of Daniel R.

                      22   Lyman, ¶ 3 (“Lyman Decl.”).

                      23           4.     On August 25, 2020, Plaintiff served, by Notice and Acknowledgement of Receipt,

                      24   defendant Guayaki Sustainable Rainforest Products, Inc. (“Guyaki”) (Guayaki and Yerba Mate

                      25   referred to collectively as “Defendants”) with a copy of the First Amended Complaint, Summons

                      26   on First Amended Complaint, Civil Case Cover Sheet, and Superior Court of California County

                      27   of Alameda Alternative Dispute Resolution Information Packet. True and correct copies of the
                      28   executed Notice and Acknowledgment of Receipt is attached as Exhibit C to the Declaration of
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                       1   Daniel R. Lyman, ¶ 4 (“Lyman Decl.”).

                       2           5.     In the FAC, Plaintiff alleges, as an individual and on behalf of all similarly

                       3   situated employees, that Defendants (1) failed to provide meal and rest breaks or, in the

                       4   alternative, meal and rest break premium pay (FAC, ¶¶ 26-31, Ex. B to Lyman Decl., ¶ 3); (2)

                       5   failed to pay all overtime and minimum wages (Id. at ¶¶ 32-36.); (3) failed to provide accurate

                       6   wage statements (Id. at ¶¶ 37-39.); (4) engaged in unfair and unlawful business practices (Id. at ¶¶

                       7   40-45.); and (5) invaded employees’ privacy (Id. at ¶¶ 46-53.).

                       8           6.     On August 17, 2020, Defendants were served Plaintiff’s Notice of Hearings, which

                       9   included, as Exhibit A, a Notice of Hearing issued on July 31, 2020 setting a Copmlex
                      10   Determination Hearing on September 8, 2020 and a Case Management Conference on October

                      11   13, 2020. A true and correct copy of Plaintiff’s Notice of Hearings, and the attachments thereto,

                      12   is attached as Exhibit D to the Declaration of Daniel R. Lyman, ¶ 5.

                      13           7.     A true and correct copy of Proof Of Service as to Yerba Mate, dated and filed with

                      14   the state court on July 30 2020, is attached as Exhibit E to the Declaration of Daniel R. Lyman, ¶

                      15   6.

                      16           8.     Pursuant to 28 U.S.C. § 1446(d), the foregoing exhibits constitute all process,

                      17   pleadings and orders served on, received by Defendant or filed in this action. To Defendant’s

                      18   knowledge, no further process, pleadings, or orders related to this case have been filed in Superior

                      19   Court of California, Alameda County or served by any party.
                      20   II.     TIMELINESS OF REMOVAL

                      21           9.     This Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b), in

                      22   that it is filed within thirty (30) days after July 29, 2020, the first and only date on which Yerba

                      23   Mate was provided with any pleading or other paper in this matter, and this case has been on file

                      24   for less than one year. See Murphy Bros., Inc. v. Mitchetti Pipe Stringing, Inc., 526 U.S. 344, 354

                      25   (1999). The 30-day period for removal runs from the date of service of the summons and

                      26   complaint, as governed by state law. See Ibid. Here, the last day for removal falls on August 28,

                      27   2020, accounting for weekends and holidays. See 28 U.S.C. § 1446(b); Fed. R. Civ. Proc. 6(a);
                      28   Krug v. Wells Fargo Bank, N.A., No. C 11-5190, 2011 WL 6182341, *1 (N.D. Cal. Dec. 13,
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                       1   2011). Accordingly, this Notice of Removal has been timely filed within the time provided by 28

                       2   U.S.C. § 1446(b).

                       3           10. All non-removing defendants, including Guayaki, have consented to the removal of

                       4   the action.

                       5   III.    VENUE

                       6           11.    The United States District Court for the Northern District of California is the

                       7   proper venue for removal pursuant to 28 U.S.C. § 1441(a) because the action is pending in the

                       8   Superior Court of the State of California for the County of Alameda, which is located within the

                       9   Northern District of California. 28 U.S.C. § 84(a).
                      10   IV.     INTRA-DISTRICT ASSIGNMENT

                      11           12.    Pursuant to Northern District Local Rules, 3-2(c) & (d) and 3-5(b), civil actions

                      12   arising in the County of Alameda shall be assigned to the San Francisco or Oakland Division.

                      13   Therefore, intra-district venue properly lies in the San Francisco or Oakland Division.

                      14   V.      JURISDICTION PURSUANT TO THE CLASS ACTION FAIRNESS ACT
                      15           13.    This Court has original jurisdiction over this case pursuant to the Class Action

                      16   Fairness Act of 2005 (“CAFA”). 28 U.S.C. § 1332(d). CAFA provides the federal district courts

                      17   with original jurisdiction over civil class action lawsuits filed under federal or state law in which

                      18   any member of a class of plaintiffs is a citizen of a state different from any defendant, and where

                      19   the amount in controversy exceeds $5 million exclusive of interest and costs. 28 U.S.C. §
                      20   1332(d)(2).

                      21           14.    Here, removal is proper under CAFA because, as set forth below, the case is filed

                      22   as a civil class action, the amount in controversy allegedly exceeds $5 million exclusive of

                      23   interest and costs, and Plaintiff is a citizen of a state different from Defendant.

                      24           15.    The exceptions set forth in 28 U.S.C. § 1332(d)(3)-(5) are not applicable here in

                      25   that the primary defendant in the matter is Defendant, who is a citizen of the States of Delaware

                      26   and Florida, and defendant Guayaki is not a defendant from whom members of the plaintiff class

                      27   are seeking significant relief, or whose alleged conduct forms a significant basis for the claims
                      28   being asserted by the Proposed Class. Specifically, during the time period between April 6, 2016
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                       1   to the present (hereinafter, the “Relevant Time Period”), Defendant Yerba Mate employed

                       2   approximately 262 potential class members in California. While defendant Guayaki, on the other

                       3   hand, employed only approximately 4 potential class members and only between April 6, 2016

                       4   and August 7, 2016. On August 7, 2016, Defendant Yerba Mate began operations and from that

                       5   time through the present Defendant Yerba Mate has employed all potential class members.

                       6   Accordingly, since defendant Guayaki could only be conceivably liable for an approximately 4-

                       7   month time period and only for a very small workforce, the relief that Plaintiff and potential class

                       8   members could recover against defendant Guayaki is at most 0.11 percent of the potential

                       9   recovery Plaintiff could obtain against the defendants in toto.        ([4 months ÷ 52 months in
                      10   Relevant Time Period] x [4 potential class members employed by defendant Guayaki at time of

                      11   acquisition ÷ 262 potential class members employed by Defendant] = 0.11%)

                      12         16.       This action was initially brought pursuant to California Code of Civil Procedure

                      13   § 382 on behalf of a putative class of non-exempt employees of Defendants who worked in

                      14   California from April 6, 2016 to the present. (FAC, ¶ 14 Ex. B to Lyman Decl., ¶ 3) The size of

                      15   the class is not specified and/or is unknown to Plaintiff. However, Plaintiff claims the putative

                      16   class is so numerous that the individual joinder of all members is impracticable. (Id. at ¶ 15.)

                      17          A.       Citizenship of Parties

                      18          17.      Pursuant to 28 U.S.C. § 1453(b), “A class action may be removed to a district

                      19   court of the United States in accordance with section 1446 (except that the 1-year limitation under
                      20   section 1446(c)(1) shall not apply), without regard to whether any defendant is a citizen of the

                      21   State in which the action is brought, except that such action may be removed by any defendant

                      22   without the consent of all defendants.” CAFA’s diversity requirement is satisfied when any

                      23   member of a class of citizens is a citizen of a State different from any defendant. 28 U.S.C.

                      24   § 1332(d)(2).

                      25          18.      For diversity purposes, a person is a “citizen” of the state in which he or she is

                      26   domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088 (9th Cir. 1983). A person’s

                      27   domicile is the place he or she resides with the intention to remain, or to which he or she intends
                      28   to return. Kanter v. Warner-Labert Co., 265 F.3d 853, 857 (9th Cir. 2001).
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                       1          19.      Allegations of residency in a state court complaint can create a rebuttable

                       2   presumption of domicile supporting diversity of citizenship. Lew v. Moss, 797 F.2d 747, 751 (9th

                       3   Cir. 1986).

                       4          20.      Here, Plaintiff alleges, and Defendant is informed and believes, that Plaintiff is a

                       5   citizen and residents of the State of California.       (FAC, ¶ 9 Ex. B to Lyman Decl., ¶ 3)

                       6   Accordingly, Plaintiff is a citizen of the State of California for diversity purposes. Kanter, 265

                       7   F.3d at 857.

                       8          21.      For purposes of CAFA, “a corporation shall be deemed to be a citizen of every

                       9   State and foreign state by which it has been incorporated and of the State or foreign state where it
                      10   has its principal place of business.” 28 U.S.C. § 1332(c)(1); see also, Johnson v. Columbia Prop.

                      11   Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006).

                      12          22.      Defendant Yerba Mate is a corporation that is organized and exists under the laws

                      13   of the State of Delaware, with its principal place of business in the State of Florida. Accordingly,

                      14   Yerba Mate is a citizen of Delaware and Florida for purposes of diversity jurisdiction. 28 U.S.C.

                      15   § 1332(c)(1).

                      16          23.      Defendant Guayaki is a corporation that is organized and exists under the laws of

                      17   the State of California, with its principal place of business in the State of California.

                      18   Accordingly, Guayaki is a citizen of California for purposes of diversity jurisdiction. 28 U.S.C.

                      19   § 1332(c)(1).
                      20          24.      The presence of Doe defendants in this case has no bearing on diversity with

                      21   respect to removal. See 28 U.S.C. § 1441(a) (“[f]or purposes of removal under this chapter, the

                      22   citizenship of defendants sued under fictitious names shall be disregarded”).

                      23          25.      Here, diversity of citizenship is met because Plaintiff is a citizen of California

                      24   while Defendant Yerba Mate is a citizen of Delaware and Florida. Therefore, the minimal

                      25   diversity requirement is fully satisfied. See, 28 U.S.C. § 1332(d)(2)(A).

                      26          B.       The Amount in Controversy Exceeds $5 Million and Plaintiff’s Classes are
                                           More than 100 Class Members
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                                  26.      CAFA requires the “matter in controversy” to exceed “the sum or value of
                      28
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                       1   $5,000,000, exclusive of interest and costs.”      28 U.S.C. § 1332(d)(2).      “The claims of the

                       2   individual class members shall be aggregated to determine whether the matter in controversy

                       3   exceeds” this amount. 28 U.S.C. § 1332(d)(6). Further, CAFA may only be invoked if the

                       4   proposed class contains at least 100 members. 28 U.S.C. § 1332(d).

                       5          27.     “In determining the amount in controversy, courts first look to the complaint.

                       6   Generally, ‘the sum claimed by the plaintiff controls if the claim is apparently made in good

                       7   faith.’” Ibarra v. Manheim Investments, Inc. (9th Cir. 2015) 775 F.3d 1193, 1197 (citing St. Paul

                       8   Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938)). “Whether damages are unstated

                       9   in a complaint, or, in the defendant's view are understated, the defendant seeking removal bears
                      10   the burden to show by a preponderance of the evidence that the aggregate amount in controversy

                      11   exceeds $5 million when federal jurisdiction is challenged.” Ibid.

                      12          28.     Plaintiffs have not alleged a specific amount in controversy in their Complaint. A

                      13   “defendants’ notice of removal need include only a plausible allegation that the amount in

                      14   controversy exceeds the jurisdictional threshold.” Dart Cherokee Basin Operating Co., LLC v.

                      15   Owens¸ 574 U.S. 81, 89 (2014). If the plaintiff or the court contests a defendant’s allegations,

                      16   however, “[e]vidence establishing the amount is required.” (Id.) As noted in Dart Cherokee:

                      17   “‘[D]efendants do not need to prove to a legal certainty that the amount in controversy

                      18   requirement has been met. Rather, defendants may simply allege or assert that the jurisdictional

                      19   threshold has been met. Discovery may be taken with regard to that question. In case of a
                      20   dispute, the district court must make findings of jurisdictional fact to which the preponderance

                      21   standard applies.’” Id. (quoting House Judiciary Committee Report on the Federal Courts

                      22   Jurisdiction and Venue Clarification Act of 2011, H.R. Rep. No. 112-10, p. 16 (2011).

                      23          29.     Here, Defendant can plausibly allege, based on Plaintiff’s Complaint and his

                      24   prayer for relief, that the amount in controversy for Plaintiff’s class-wide claims exceeds $5

                      25   million. The assertions of Defendant herein are limited to their preliminary understanding of

                      26   Plaintiff’s claims and data currently available to Defendant.

                      27          30.     Here, Plaintiff proposes “a class consisting of all non-exempt employees of
                      28   Defendant who worked in California during the period from April 6, 2016 to the present.”
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                       1   (“Proposed Class”). (FAC, ¶ 14 Ex. B to Lyman Decl., ¶ 3.) Plaintiff and the Proposed Class of

                       2   “non-exempt” employees are in fact classified as exempt by Defendant.              Plaintiff’s theory

                       3   underpinning his wage and hour allegations are that he and the Proposed Class are improperly

                       4   classified as exempt. During the Relevant Time Period, based on Defendant’s records, Defendant

                       5   employed approximately 262 members of the Proposed Class (“Proposed Class Members”).

                       6   Further, based on personnel and payroll records of Proposed Class Members, the average hourly

                       7   rate of pay was $17.30,1 and, as of the date of the removal, the total number of workweeks

                       8   worked by Proposed Class Members was approximately 11,693.

                       9          31.     While Defendant denies Plaintiff’s claims of wrongdoing and denies his request
                      10   for relief thereon, the facial allegations in Plaintiff’s Complaint and the total amount of penalties

                      11   and attorneys’ fees at issue in this action, when viewed in the light most favorable to Plaintiff, is

                      12   in excess of the jurisdictional minimum. Luckett v. Delta Airlines, Inc., 171 F.3d 295, 298 (5th

                      13   Cir. 1999). “In measuring the amount in controversy, a court must assume that the allegations of

                      14   the complaint are true and that a jury will return a verdict for the plaintiff on all claims made in

                      15   the complaint.” Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F. Supp. 2d 993,

                      16   1001 (C.D. Cal. 2002). “When a ‘[d]efendant’s calculations (are) relatively conservative, made

                      17   in good faith, and based on evidence whenever possible,’ the court may find that the ‘[d]efendant

                      18   has established by a preponderance of the evidence that the amount in controversy is met.’”

                      19   Cagle v. C&S Wholesale Grocers, Inc., __ F.R.D. ___, 2014 WL 651923, *7 (E.D. Cal. Feb. 19,
                      20   2014) (quoting Behrazfar v. Unisys Corp., 687 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008)

                      21   (citations omitted)). Nor does Defendant need to provide summary judgment-type evidence.

                      22   Cagle, 2014 WL 651923, *7.

                      23          32.     Where a plaintiff alleges that a defendant has “‘engaged in a uniform

                      24   policy/practice of wage abuse’ against their employees, and that ‘[a]t all material times’

                      25   [defendant] failed to provide . . . rest breaks to [p]laintiff and the other class members,” it is

                      26
                           1
                      27    As Plaintiff and Proposed Class Members are exempt and compensated at an annual rate, for the
                           purposes of this Notice of Removal, this hourly rate was calculated by dividing the Proposed
                      28   Class Members’ annual rates into 40 hour work weeks. See Cal. Lab. Code § 515(c).
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                       1   “reasonable” to “assum[e] that each class member missed . . . one rest period per week.” Byrd v.

                       2   Masonite Corp., No. CV 16-35-JGB KKx, 2016 U.S. Dist. LEXIS 60078, at *16 (C.D. Cal. May

                       3   5, 2016) (emphasis added) (citing Arreola v. Finish Line, No. 14-CV-03339-LHK, 2014 U.S.

                       4   Dist. LEXIS 170464, at *4 [N.D. Cal. Dec. 9, 2014][finding that pleading “regular or consistent

                       5   practice” supports assumption that every class member “experienced at least one violation once

                       6   per week.”]). Even further, where a plaintiff alleges that a defendant “‘adopted and maintained

                       7   uniform policies, practices and procedures’ that caused the purported violations of California's

                       8   [break laws] … [i]t is not unreasonable to assume that when a company has unlawful policies and

                       9   they are uniformly ‘adopted and maintained,’ then the company may potentially violate the law in
                      10   each and every situation where those policies are applied.” Mejia v. DHL Express (USA), Inc.,

                      11   No. CV 15-890-GHK JCx, 2015 WL 2452755, *4 (C.D. Cal. May 21, 2015) (emphasis added).

                      12   In that instance, the Court found that “a 100% violation rate is not an unreasonable assumption to

                      13   use in estimating the amount in controversy in light of the allegations in the complaint.” Id.

                      14   Further, where the underlying claim is one of misclassification, it is reasonable to assume a 100%

                      15   violation rate. See Vitale v. Celadon Trucking Servs., No. CV15-5193 PSG (GJSx) 2015 WL

                      16   5824721, *7 (C.D. Cal. Oct. 2, 2015) (“Defendant is correct that it may reasonably assume that

                      17   100% of the putative class members are theoretically entitled to penalties for misclassification.”);

                      18   see also LaCross v. Knight Transp. Inc., 775 F.3d 1200, 1202 (9th Cir. 2015) (Defendant was

                      19   permitted to assume that each class member was misclassified as an independent contractor,
                      20   rather than an employee for purposes of calculating amount in controversy under CAFA).

                      21          33.     Here, Plaintiff alleges five causes of action: (1) failure to provide meal and rest

                      22   breaks or, in the alternative, meal and rest break premium pay; (2) failure to pay all overtime and

                      23   minimum wages; (3) failure to provide accurate wage statements; (4) engaging in unfair and

                      24   unlawful business practices; and (5) invading employees’ privacy. (See generally, FAC, Ex. B to

                      25   Lyman Decl., ¶ 3.)      Plaintiffs seek unpaid wages, interest, penalties, restitution, statutory

                      26   damages, as well as attorneys’ fees and costs. Plaintiffs seek recovery of the aforementioned

                      27   remedies for all members of the Proposed Class. (See, e.g., id. at Prayer for Relief, ¶¶ 1-9, Ex. B
                      28   to Lyman Decl., ¶ 3.)
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                       1           34.    Specifically, through his Complaint, Plaintiff alleges that “[a]s a pattern and

                       2   practice, Defendants regularly did not provide employees with their meal periods and rest breaks

                       3   and did not provide proper compensation for this failure.” (FAC, at ¶ 28, Ex. B to Lyman Decl.,

                       4   ¶ 3 [emphasis added].) Plaintiff alleges Defendant’s “pattern, practice and administration of

                       5   corporate policy as described [in the FAC] is unlawful and creates an entitlement to recovery by

                       6   Plaintiff and the Class . . . for the balance of unpaid premium compensation pursuant to Labor

                       7   Code 226.7 and the applicable IWC Wage Order, including interest thereon.” (FAC, at ¶ 31, Ex.

                       8   B to Lyman Decl., ¶ 3 [emphasis added].) Consequently, Plaintiff is alleging, as a matter of

                       9   policy and practice, that Defendants uniformly and systematically do not provide Plaintiff and
                      10   Proposed Class Members with lawful meal and rest breaks. Indeed, as Defendants need not

                      11   comply with meal and rest break requirements for exempt employees (See Cal. Lab. Code §

                      12   226.7(e)), and Plaintiff’s claims are therefore based on the contention that he and Proposed Class

                      13   Members are improperly classified as exempt, it is reasonable to assume for these purposes that

                      14   violations occurred every shift for every alleged misclassified Proposed Class Member.

                      15           35.    Therefore, assuming arguendo that Proposed Class Members were not properly

                      16   classified as exempt and therefore not provided compliant meal or rest breaks every shift, then

                      17   based on the Proposed Class Members’ average rate of pay, there is a potential estimate of at least

                      18   $2,082,083.10 in damages.2

                      19           36.    Plaintiff also claims that “[a]s a pattern and practice, Defendants regularly failed to
                      20
                           2
                               As exempt employees, Plaintiff and Proposed Class Members are compensated for a 40 hour
                      21   work week (See Cal. Lab. Code § 515(c)), which, assuming, arguendo, that Plaintiff and
                           Proposed Class Members are entitled to meal and rest periods, would require Defendants to
                      22
                           provide two hours of compensation at the employees’ regular rate of pay as premium pay for
                      23   Defendant’s failure to provide meal or rest periods. Cal. Labor Code § 226.7; Cal. Code Regs.,
                           tit. 8, § 11090, subds. 11(A) & 12(B) (entitling employees to at least one rest break if they
                      24   worked a period of at least 3.5 hours and at least one meal break if they worked a period over 5
                           hours); see United Parcel Service Wage & Hour Cases, 196 Cal. App. 4th 57, 70 (“[E]mployees .
                      25   . . may recover up to two additional hours of pay on a single work day for meal period and rest
                      26   period violations—one for failure to provide a meal period and another for failure to provide a
                           rest period.”). This potential damages estimate is based on providing each employee two hours of
                      27   premium pay based on their regular rate of compensation for each day worked.

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                       1   compensate its employees for all hours work, resulting in a failure to pay all minimum wages and,

                       2   where applicable, overtime wages.” (FAC, at ¶ 34, Ex. B to Lyman Decl., ¶ 3.) The FAC is

                       3   devoid of specific facts suggesting the amount of claimed unpaid overtime the Proposed Class

                       4   Members are allegedly entitled to. However, a reasonable estimate for purposes of evaluating

                       5   Plaintiff’s claims would be to assume between 1 and 5 hours of unpaid overtime per employee

                       6   per week. Based on each employees’ average overtime rates, the potential estimate for unpaid

                       7   overtime is in the range of at least $312,312.46 (assuming 1 hour per employee per week),

                       8   $936,937.39 (assuming 3 hours per employee per week), or $1,561,562.32 (assuming 5 hours per

                       9   employee per week). For purposes of estimating the amount in controversy, Defendant will
                      10   assume the middle amount of $936,937.39 based on a reasonable assumption that Plaintiff is

                      11   alleging 3 hours of unpaid overtime per employee per week. This is a more than reasonable

                      12   assumption given Plaintiff’s allegations that Defendant employed a “pattern, practice, and

                      13   administration of corporate policy” of not compensating Proposed Class Members for overtime.

                      14   (FAC, at ¶ 36, Ex. B to Lyman Decl., ¶ 3.)

                      15          37.     Plaintiffs also claims that Proposed Class Members are entitled to penalties as a

                      16   result of Defendant’s furnishing inaccurate wage statements in violation of Labor Code section

                      17   226. (FAC, at ¶¶ 37-39, Ex. B to Lyman Decl., ¶ 3.)              Specifically, Plaintiff alleges that

                      18   “Defendants failed to keep accurate records of Plaintiff and the Class and Subclasses (d), (e), and

                      19   (f)’s gross wages earned, total hours worked, net wages earned, and all applicable hourly rates
                      20   and the number of hours worked at each hourly rate.” (FAC, at ¶ 38, Ex. B to Lyman Decl., ¶ 3.)

                      21   Plaintiff further alleges that Defendants’ “pattern, practice and uniform administration of

                      22   corporate policy as described herein is unlawful and creates an entitlement to recovery . . . for all

                      23   damages and/or penalties pursuant to Labor Code § 226.” (FAC, at ¶ 39, Ex. B to Lyman Decl., ¶

                      24   3.)

                      25          38.     Labor Code section 226(e)(1) provides for a penalty for each inaccurate wage

                      26   statement issued to each employee of up to $4,000 within the one-year statute of limitations.

                      27   Assuming arguendo the truth of Plaintiff’s allegation that Proposed Class Members are entitled to
                      28   inaccurate wage statement penalties, based on the number of wage statements issued to each
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                       1   Proposed Class Member during the relevant time period, when each Proposed Class Members’

                       2   statutory penalties are calculated, Plaintiffs’ claim for inaccurate wage statement penalties, in the

                       3   aggregate, is estimated to be at least $527,950.00.

                       4            39.    Plaintiff further claims that Defendant violated California Penal Code § 632 by

                       5   “employ[ing] certain surveillance and recording equipment at the workplace without the

                       6   knowledge or consent of employees . . . to listen in on and record employee conversations,

                       7   including those confidential in nature.” (FAC, at ¶¶ 49-50, Ex. B to Lyman Decl., ¶ 3.) Plaintiff

                       8   further alleges that Defendants “did intrude on Plaintiff and the members of the Class’ privacy by

                       9   knowingly      and/or   negligently    and/or   intentionally   engaging     in   the   aforementioned
                      10   recording/eavesdropping activities.”      (FAC, at ¶ 51, Ex. B to Lyman Decl., ¶ 3.) Violation of

                      11   California Penal Code § 632 carries statutory damages of the greater between $5,000 per violation

                      12   or three times the actual amount of damages, if any, sustained by the Plaintiff. Cal. Pen. Code §

                      13   637.2.    Assuming even just a single violation of each Proposed Class Member that Plaintiff

                      14   purports to represent during the one year statute of limitations on this claim, and assuming the

                      15   minimum damages amount of $5,000 per violation, the minimal potential damages on this claim

                      16   is $985,000.00 (approximately 197 Proposed Class Members were employed during the statute of

                      17   limitations period). See Ion Equipment Corp. v. Nelson (1980) 110 Cal.App.3d 868, 880 (“The

                      18   statute of limitations in which to commence an action for invasion of privacy is one year.”)

                      19            40.    Based on the above, the total amount in controversy exclusive of attorneys’ fees
                      20   and interest is estimated to be at least $4,531,970.49 ($2,082,083.10 [meal and rest breaks] +

                      21   $936,937.39 [unpaid wages/overtime] + $527,950.00 [inaccurate wage statements] + $985,000.00

                      22   [invasion of privacy]).

                      23            41.    Plaintiff also seeks an award of reasonable attorneys’ fees and costs for the

                      24   Proposed Class Members, including pursuant to the California Labor Code sections 218.6, 226,

                      25   and 1194, and California Code of Civil Procedure § 1021.5. (See Prayer for Relief, Paragraph 9,

                      26   Ex. B to Lyman Decl.) It is well-settled that when authorized by statute, attorneys’ fees are to be

                      27   included in the calculation of the amount of Plaintiff’s claims for purposes of determining
                      28   whether the requisite jurisdictional minimum is met. See Galt G/S v. JSS Scandinavia, 142 F.3d
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                       1   1150, 1156 (9th Cir. 1998) (“[W]here an underlying statute authorizes an award of attorneys’

                       2   fees, either with mandatory or discretionary language, such fees may be included in the amount in

                       3   controversy”); Brady v. Mercedes-Benz USA, Inc., 243 F.Supp.2d 1004, 1010-11 (N.D. Cal.

                       4   2002) (in deciding amount in controversy issue, court may estimate the amount of reasonable

                       5   attorneys’ fees likely to be recovered by plaintiff if she were to prevail). While Plaintiff’s

                       6   attorneys’ fees cannot be precisely calculated, it is reasonable to assume that they could exceed a

                       7   damages award. Simmons v. PCR Technology, 209 F.Supp.2d 1029, 1035 (C.D. Cal. 2002).

                       8          Additionally, courts in this circuit have held that it is not uncommon for an attorneys’ fees

                       9   award to be 25% of the recovery. See, e.g., Staton v. Boeing Co., 327 F.3d 938, 968 (9th Cir.
                      10   2003); Cortez v. United Natural Foods, Inc., 2019 U.S. Dist. LEXIS 31540, *23-24 (N.D. Cal.

                      11   Feb. 27, 2019).

                      12          Particularly in the context of a CAFA removal, courts add 25% of the projected recovery

                      13   as the amount of fees in controversy. See Fong v. Regis Corp., 2014 U.S. Dist. LEXIS 275, *23

                      14   (N.D. Cal. Jan. 2, 2014) (“Courts in this circuit have held that, for purposes of calculating the

                      15   amount in controversy in a wage-and-hour class action, removing defendants can reasonably

                      16   assume that plaintiffs are entitled to attorney fees valued at approximately twenty-five percent of

                      17   the projected damages.”); Altamirano v. Shaw Indus., 2013 U.S. Dist. LEXIS 84236, *35 (N.D.

                      18   Cal. Jun. 14, 2013) (denying motion to remand because “the amount in controversy on the five

                      19   causes of actions totals $4,354,326.48, [and] adding attorneys fees yields a total amount in
                      20   controversy of $5,442,908.10”); Garnett v. ADT LLC, 74 F. Supp. 3d 1332, 1337-38 (E.D. Cal.

                      21   2015) (motion to remand denied because “[a]ssuming that plaintiff correctly estimates the

                      22   statutory damages available under section 226(e) as $4,064,800, an attorney award of $935,200—

                      23   or approximately 23 percent of estimated recovery--would suffice to push this case over CAFA's

                      24   $5 million requirement”); Rodriguez v. CleanSource, Inc., 2014 U.S. Dist. LEXIS 106901, *13-

                      25   14 (denying motion to remand because “25% of $4,274,189.42, $1,068,547.36, which, when

                      26   added to the previous figure, produces a total amount in controversy of $5,342,736.78. This

                      27   exceeds the jurisdictional threshold for CAFA.”); Herrera v. Carmax Auto Superstores Cal.,
                      28   LLC, 2014 U.S. Dist. LEXIS 188729, *12-13 (C.D. Cal. Jun. 12, 2014) (denying motion to
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                       1   remand because “Defendant has established that the amount in controversy in Plaintiffs'

                       2   attorneys’ fees claim is 25 percent of the amount in controversy in the above claims”); Gutierrez

                       3   v. Stericycle, Inc., 2017 U.S. Dist. LEXIS 20975, *51-52 (C.D. Cal. Feb. 14, 2017) (amount in

                       4   controversy exceeds $5 million for purposes of CAFA because “it is appropriate to include in the

                       5   calculation of the amount in controversy a potential fee award of 25% of the value of certain of

                       6   the substantive claims”); Garcia v. Wal-Mart Stores, 2016 U.S. Dist. LEXIS 142807, *18 (C.D.

                       7   Cal. Oct. 14, 2016) (motion to remand denied because “Defendant can establish by a

                       8   preponderance of the evidence that the overtime penalties are at least $4 million dollars [and] the

                       9   addition of twenty-five percent in attorneys’ fees would necessarily meet the $5 million amount
                      10   in controversy requirement under CAFA.”); Salcido v. Evolution Fresh, Inc., 2016 U.S. Dist.

                      11   LEXIS 1375, *23 (C.D. Cal. Jan. 6, 2016) (fees added to amount in controversy and remand

                      12   motion denied; “[t]he Court finds, consistent with its previous rulings on the issue, that a 25

                      13   percent multiplier [to calculate fees] is appropriate”); Johnson v. Sunrise Senior Living Mgmt.,

                      14   2016 U.S. Dist. LEXIS 29631, *17 (C.D. Cal. Mar. 8, 2016) (“If Defendant can establish by a

                      15   preponderance of the evidence that the waiting time penalties are at least $4 million dollars, the

                      16   addition of twenty-five percent in attorneys' fees would necessarily meet the $5 million amount in

                      17   controversy requirement under CAFA.”); Lopez v. Aerotek, Inc., 2015 U.S. Dist. LEXIS 63615,

                      18   *8-9 (C.D. Cal. May 14, 2015) (approving of calculation of “amount in controversy before

                      19   attorneys' fees [to be] $4,887,718.00, resulting in a 25 percent attorneys' fee of $1,221,929.50,
                      20   and reaching a total amount in controversy of $6,109,647.50”); Hughes v. Fosdick, 106 F. Supp.

                      21   3d 1078, 1083 (N.D. Cal. 2015) (“the Court concludes that defendants' estimate of an additional

                      22   25 percent of the mileage reimbursement value is reasonable” to add as the value of the attorneys’

                      23   fees demand for purposes of calculating the amount in controversy for a CAFA removal);

                      24   Stafford v. Dollar Tree Stores, Inc., 2014 U.S. Dist. LEXIS 42564, *24 (E.D. Cal. Mar. 27, 2014)

                      25   (“the amount in controversy includes attorneys’ fees, and a common estimate for the attorneys’

                      26   fees award is 25 percent of the recoverable damages”).

                      27          42.     Considering the sum of the potential damages from above, estimated to be at least
                      28   $4,531,970.49, it is reasonable to assume arguendo that the potential attorneys’ fees would be
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                       1   $1,132,992.62 ($4,531,970.49 x 25%).

                       2            43.    Defendant does not concede Plaintiff’s claims have any merit, however, when the

                       3   relief sought on behalf of the Proposed Class Members is taken as a whole, the amount in

                       4   controversy for Plaintiff’s class claims likely exceed the $5 million jurisdiction requirement,

                       5   exclusive of interest and costs ($4,531,970.49 + $1,132,992.62 = $5,664,963.11). Thus, this

                       6   Court has original jurisdiction over the claims asserted by Plaintiff in this action based on

                       7   diversity of citizenship jurisdiction under 28 U.S.C. §§ 1332(d)(2) and 1441(a). See 28 U.S.C.

                       8   § 1332(d)(6) (“In any class action, the claims of the individual class members shall be aggregated

                       9   to determine whether the matter in controversy exceeds the sum or value of $5 million, exclusive
                      10   of interest and costs.”) Accordingly, the potential amount in controversy is in excess of the $5

                      11   million threshold for CAFA jurisdiction.

                      12            44.    Finally, CAFA’s numerosity requirement of the proposed class having at least 100

                      13   class members is satisfied by the 262 Proposed Class Members identified in Paragraph 29 above.

                      14   See 28 U.S.C. § 1332(d)(5)(B).

                      15   VI.      NOTICE OF REMOVAL

                      16            45.    A copy of this notice of removal will be filed with the Clerk of the Superior Court

                      17   of the State of California, County of Alameda.

                      18            46.    By removing the action to this Court, Defendant does not waive any defenses,

                      19   objections, or motions available to it under state or federal law. Defendant expressly reserves the
                      20   right to require that the claims of Plaintiff and/or all members of the putative class be decided on

                      21   an individual basis.

                      22   //

                      23   //

                      24   //

                      25   //

                      26   //

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                      28   //
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                       1          47.     WHEREFORE, Defendant prays that the Court remove this civil action from the

                       2   Superior Court of the State of California, County of Alameda, to the United States District Court

                       3   for the Northern District of California.

                       4
                           Dated: August 28, 2020                       FORD & HARRISON LLP
                       5

                       6
                                                                        By: /s/ Daniel R. Lyman
                       7                                                   David L. Cheng
                                                                           Dan R. Lyman
                       8                                                   Attorneys for Defendants
                                                                           THE YERBA MATE CO., LLC and GUAYAKI
                       9                                                   SUSTAINABLE RAINFOREST PRODUCTS,
                                                                           INC.
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                       1                    PROOF OF SERVICE – ELECTRONIC TRANSMISSION
                       2

                       3          STATE OF CALIFORNIA/COUNTY OF ALAMEDA

                       4          I am a citizen of the United States and an employee in the County of Alameda. I am over
                           the age of eighteen (18) years and not a party to the within action. My business address is FORD
                       5
                           & HARRISON LLP, 1901 Harrison Street, Suite 1650, Oakland, California 94612.
                       6

                       7
                                  On August 28, 2020, I electronically served the document(s) via United States District
                       8
                           Court – Northern District of California ECF webite, described below, on the recipients designated
                       9
                           on the Transaction Receipt located on the United States District Court – Northern District of
                      10
                           California ECF website.
                      11

                      12
                           NOTICE OF REMOVAL OF ACTION BY DEFENDANT THE YERBA MATE CO., LLC
                      13
                                  PURSUANT TO 28 U.S.C. §§ 1332, 1367(a), 1441(a), 1441(b), 1446 AND 1453
                      14
                           On the following parties:
                      15

                      16        PLEASE SEE SERVICE LIST PROVIDED BY USDC –NORTHERN DISTRICT OF
                      17                                    CALIFORNIA ECF WEBSITE

                      18

                      19          I declare under penalty of perjury that the foregoing is true and correct and that this

                      20   document is executed on August 28, 2020, at Oakland, California.

                      21

                      22
                                                                 /s/ Bridgette C. Burdick
                      23
                                                                 BRIDGETTE C. BURDICK
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